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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

  In re:                                                   )   Chapter 11
                                                           )
  WOODBRIDGE GROUP OF COMPANIES, LLC,                      )   Case No. 17-12560 (JKS)
  et al.,                                                  )
                                                           )   (Jointly Administered)
                                                           )
                                                           )
  MICHAEL GOLDBERG, in his capacity as                     )
  Liquidating Trustee of the WOODBRIDGE                    )
  LIQUIDATION TRUST,                                       )
                             Plaintiff,                    )
                                                           )   Adv. Pro. No. 19-51027 (JKS)
  vs.                                                      )
                                                           )
  KENNETH HALBERT,                                         )
                               Defendant.                  )
                                                           )

                                               ORDER

        Upon consideration of the Plaintiff’s Request for Oral Argument on Plaintiff’s Motion for

Leave to File Amended Complaint [D.I. 63] and Defendant’s Request for Oral Argument on

Plaintiff’s Motion for Leave to File Amended Complaint [D.I. 63] (Collectively, the “Requests”), IT

IS HEREBY ORDERED THAT:

        1.      The Requests are granted pursuant to Rule 7007-3 of the Local Rules of Bankruptcy

Practice and Procedure of the United States Bankruptcy Court for the District of Delaware.

        2.      Oral argument on the Plaintiff’s Motion for Leave to File Amended Complaint [D.I.

53] will be held on October 19, 2021 at 3:00 p.m. prevailing Eastern Time, on Zoom. All parties

wishing to appear must do so by registering at the following link:

https://debuscourts.zoomgov.com/meeting/register/vJIsf-yppzIqEzWaxn5UYjNYs8I2i3xTE-c




                                                           J. KATE STICKLES
        Dated: August 24th, 2021
                                                           UNITED STATES BANKRUPTCY JUDGE
        Wilmington, Delaware
